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U.S. v. Phillip Daekwon Miles
MJ18-5151

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U.S. v. Phillip Daekwon Miles
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Sammy Banks @1il_Tr - 40m hee
| ain't even in the ville and still can get you killed If

7 tl OO M4

Sammy Banks @Lil_Tr «42m hf
Niggas be outchea telling and still try be tough like no mf ain't nobody fuccin
with yo ass

*s Exhibit No. dU

U.S. v. Phillip Daekwon Miles
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MJ18-5151
Facebook Business Record

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Sammy Banks (100011196137924)
2016-08-07 15:56:26 UTC

NOON Ite lil sticcs Oy

Shabba Chandler (100010734935778)
2016-08-07 15:55:56 UTC
Ain't nobody 1

Ta'Maz Jones (100000420065779)
2016-08-07 15:55:29 UTC
It's somebody in here with a body 0]

Sammy Banks (100011196137924)}
2016-08-07 15:55:08 UTC

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Lol we neve said we was killers you 6Grought up the killer part up all
| said is speak for you self just Cause you don't consider yourself
one don't mean we not like I said | ain't got no 60dy 6ut | ain't for

none even the opps know that

Shabba Chandler (100010734935778)
2016-08-07 15:54:14 UTC
Exclude me from this bullshxt I'm Cood up coolin

Rbg Ty Banks (100009668627647)
2016-08-07 15:53:18 UTC
EBK

Shabba Chandler (100010734935778)
2016-08-07 15:52:36 UTC
D000 yeah left

Shabba Chandler (100010734935778)
2016-08-07 15:52:21 UTC
Oh so everybody killers

Sammy Banks (100011196137924)
2016-08-07 15:51:54 UTC
You dead it lil stiCCs (000

Shabba Chandler (100010734935778)
2016-08-07 15:51:34 UTC
QU00 dead it

Sammy Banks (100011196137924)
2016-08-07 15:51:13 UTC
Never had to prove a point that's milk 0]

Sammy Banks (100011196137924)
2016-08-07 15:50:55 UTC ©
FaCCs 6

DaDa Trent (100010438929327)
2016-08-07 15:50:44 UTC
OU shvt uu might not C shvt | know what I'm a do

Shabba Chandler (100010734935778)
2016-08-07 15:50:37 UTC
Lol just to prove a point 90

U.S. v. Phillip Daekwon Miles

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Government’s Exhibit No. 5

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U.S. v. Phillip Daekwon Miles
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Shabba Chandler (100010734935778)
2016-08-07 14:45:49 UTC
fan shot shxt but I'm bout all that so ima go to sleep (0400

Sammy Banks (100011196137924)
2016-08-07 14:45:21 UTC
Well | sCored so | know them msgs want for me

Ta'Maz Jones (100000420065779)
2016-08-07 14:44:59 UTC

O00

Owe Pulla (100010861920321)
2016-08-07 14:44:43 UTC
They die?

Matthew Ferguson (100001207913837)
2016-08-07 14:44:34 UTC
Ima pray for y'all

Ta'Maz Jones (100000420065779)
2016-08-07 14:43:42 UTC
2 00 more than Eveybody except R and Gates

Owe Pulla (100010861920321) .
2016-08-07 14:43:13 UTC
Just saying how many niccas u shot?

Ta'Maz Jones (100000420065779)
2016-08-07 14:42:40 UTC
| shot a nigga in the back and the ass idk bout no leg shots

Shabba Chandler (100010734935778)
2016-08-07 14:42:38 UTC
DOOOC y'all wild this morning #00

Owe Pulla (100010861920321)
2016-08-07 14:42:19 UTC
If | eva have to shoot a nicca ima kill em no leg shots

Ta'Maz Jones (100000420065779)
2016-08-07 14:41:30 UTC
Shot

Owe Pulla (100010861920321)
2016-08-07 14:41:23 UTC
Shit no60dy ? DOL0

Ta'Maz Jones (100000420065779)
2016-08-07 14:41:17 UTC
R you comin before you drop her off

Ta'Maz Jones (100000420065779)

2016-08-07 14:41:00 UTC

Y'all mad Kuz y'ail ain't shit nobody it ain't the coolest thing in the
world to do man damn []]

Shabba Chandler (100010734935778)
